Case 1:16-cv-06704-PAE-KNF

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTOINE ROSS,
Plaintiff
- against -
CAPTAIN DION WILLIS, CORRECTION

OFFICER GEORGE, SHIELD #732,
CORRECTION OFFICER GENOVES,

SHIELD #17683, and CITY OF NEW YORK,

Defendants.

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Docket #16CV06704 (PAE)(KNF)

REPLY MEMORANDUM OF LAW IN RESPONSE TO PLAINTIFF’S OPPOSITION
AND IN FURTHER SUPPORT OF
DEFENDANT DION WILLIS’ MOTION FOR SUMMARY JUDGMENT

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Bell v. Wolfish, 441 U.S. 520 (1979)

Dist. of Columbia v. Wesby, 138 S.Ct. 577, 589 (2018

 

Ismael v. Charles, No. 18-CV-3957 (GHW) 2020 U.S. District
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Jones v. Truebig, 963 F.3d 214 (2d Cir. 2020)

Mullenix v. Luna, 136 S.Ct. 305, 308 (2015)

 

Rizk v. City of New York, No. 14-CV-6434 (RRM)(RER) 2020 U.S. District
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Saucier v. Katz, 533 U.S. 194 (2001)
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REPLY

DOC policy provides that an inmate refusing to attend a scheduled court appearance
constitutes an anticipated use of force scenario. Defendant Willis submits that the procedures
tor probe team response and extraction teams appear to have been conflated in the discussions
and arguments by plaintiff herein.

On June 14, 2016, plaintiff Ross, a detainee inmate, was refusing to attend his scheduled
court appearance. Captain Latonia Monroe informed her superior, Tour Commander Assistant
Deputy Warden Dunbar, concerning Ross’ refusals. The Tour Commander directed Captain
Monroe to record the refusal on camera, which she did.

Thereafter, the Tour Commander, at approximately 6:45 a.m., activated an alarm and
dispatched Captain Willis to lead a probe team response to inmate Ross’ cell. Chief Kenneth
Stukes, the City’s 30(b)(6) witness, testified that this was not a probe team scenario {Ex. “F” at
257-58).

Had the Tour Commander properly followed DOC protocols, an alarm would not have
been activated and a probe team would not have been dispatched. Rather, the Tour Commander
would have directed the formation of an “extraction team” which would have then triggered
extraction protocols which consist of: assembling an extraction team consisting of a supervisor
(captain) and six (6) officers suited in riot gear, contacting Mental Health,! and obtaining
information from the medical clinic as to whether the inmate was contraindicated for the use of

chemical agents and/or an electronic immobilization shield.

 

it was undetermined whether any mental health staff were available in the building at that time.

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As noted, rather than direct the assembly of an extraction team, the Tour Commander
dispatched a probe team under the supervision of Captain Willis. Captain Willis and his probe
team responded as ordered. Prior to responding, the Tour Commander informed Willis of the
nature of the response, i.e. that Ross was refusing court {Ex. “R” at 95).

Willis testified that since the Tour Commander had dispatched him to what was an
anticipated use of force scenario, he believed that the necessary steps, including checking for
contraindicators, had been taken by the Tour Commander.* (Ex. “R” at 95-96).

Upon arriving at Ross’ ceil, the cell door was open and Ross was lying in his bed.

Probe team members, including Captain Willis, entered the cell and attempted to
convince Ross to simply comply and attend his scheduled court appearance.? Ross did not
comply. Probe team members attempted to handcuff Ross in order to escort him from the cell,
but Ross physically resisted. (Ex. “O” at 1:03-1:30; Ex. “R” at 83, 89).

Plaintiff claims that he did not resist, and told probe team members that he was sedated,
couldn’t move and on drugs. In mast instances, a court, in a summary judgment motion, would
credit such assertions of the non-moving party. However, as this Court is aware, there is an audio
recording along with the video, and a transcript as to what transpired. Accordingly, the Court
need not credit assertions of the non-moving party which have been demonstrated to be untrue.

The relevant portion of the transcript provides as follows:

(Defendant Willis): “We have to take you outta here.”

 

? Willis testified that had he learned of Ross’ asthma diagnosis prior to spraying, he would have “double checked”
with the Tour Commander concerning contraindicators.

* Chief Stukes explained that when a probe team responds, circumstances may change, and the probe team has
the authority to act with whatever minimum force may be necessary (Ex “F” at 131).

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(Defendant George):
(Mr. Ross):
(Defendant Willis):
(Mr. Ross):
(Defendant Willis):
(Mr. Ross):

(Mr. Ross):

(Mr. Ross):

(Defendant Willis):

(Mr. Rass):
(Defendant Willis):
(Mr. Ross):

(Spray deployed}

(Defendant Willis):

“Come on, we gotta take you down” (inaudible).

“I’m going to sleep, do not touch me bro, de not touch me bro”
“Alright, listen, we gotta go”

“Bro, don’t touch me, son”

“Come on you gotta go, grab him, you gotta go”

“Grabbing me. . .grabbin’ my arm while I’m on drugs, boy.”
“What’s wrong with you boy? Is you crazy?

“What's wrong with you, son?

“...go downstairs, I’m gonna tell you now, | need to take you out
or I’m gonna spray you. I’m gonna give you one opportunity”
“Spray me for what”

“For you to come out {inaudible}

Y’all niggas is crazy son, y'all niggas is crazy.”

“Cuff him” (Exhibit “O”)

Clearly, Ross did not claim to be sedated, and did not claim to be unable to move. Ross

did accuse staff of grabbing him and grabbing his arm while he was on drugs.’ He is clearly,

actively resisting. If Ross “couldn’t move” as claimed, staff would have had no difficulty in

handcuffing him. But they did, because Ross physically resisted their attempts.

 

* Willis acknowledged hearing Ross say “while I’m on drugs” when the audio was played at his deposition, but
explained that he did not hear Ross say that at the time. The parties agree that Willis was wearing a riot helmet
and gas mask during the encounter with Ross.
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Moreover, at his deposition, Ross testified, “staff must have been pulling on my arm to
get me to court.” When asked if he pulled away, Ross stated that he didn’t remember (Exhibit
“” at 102, 103).

Willis testified that as staff attempted to handcuff Ross, he pulled away (Exhibit “R” at 83,
89).

In addition to the obvious physical resistance depicted on the recording of the incident,
by claiming he does not recall if he resisted, Ross cannot now contest the probe team’s assertions
that he in fact physically resisted their efforts to handcuff him.

Plaintiff understands that his demonstrated physical resistance undermines his claims
herein. No doubt this explains the often repeated claim in plaintiff's memorandum that plaintiff
did not resist. However, plaintiff's claim is simply not true. Equally untrue are his claims that he
explained to the probe team members that he was sedated and couldn’t move. Plaintiff
physically resisted and his repeated claims to the contrary can’t change that simple fact.

Additionally, plaintiff's claims of being sedated as a result of the anti-anxiety drug
Remeron are suspect at best. At no time on the audio recording can Ross be heard stating this
as claimed. Moreover, there is no documentary evidence that Ross took Remeron the night
before as claimed, but even if he had, Ross’ medical records from May 12, 2016, just one month
prior to the incident, indicate: “He reported taking Remeron regularly with good response and
no untoward side effects” (Exhibit “P” DEF 1359). Thus, while “drowsiness, fatigue and dizziness”

|”

are “potential” side effects of Remeron, clearly Ross, by his own admission, did not experience

these side effects.
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Plaintiff claims that he was not a threat, yet he was an Enhanced Supervision Housing
inmate who was refusing to be handcuffed.> He physically resisted. Officer Genoves noted that
when an inmate refused to be handcuffed, you don’t know what their intentions are and are
therefore somewhat of a threat (Ex “Q” at 89}.

Plaintiff seeks to now add an additional theory in support of their claims, i.e. that the
spray was from less than six feet away. Plaintiff seeks to do so in overly dramatic fashion by
claiming the spray occurred at “close range”, a reference in no way explained. However, there is
no objective evidence to support this claim, only conjecture and counsel’s opinion as to distances.
Additionally, while spraying closer than six feet may be a DOC policy violation, subjecting an
employee to administrative discipline, it does not constitute a violation of a clearly established
constitutional right. Quite simply, the spraying of plaintiff from five feet away, four feet away or
even less does not rise to a constitutional violation, even if true. Section 1983 does not provide
a remedy for best police practices, and accordingly, an act or omission that violates policy but
does not also violate constitutional rights is not actionable under §1983. Rizk v. City of New York,
14 CV 6434 (RRM)(RER) 2000 U.S. Dist. Lexis 90918 at *28 -*29 (E.D.N.Y. May 22, 2020). See also
Bah v. City of New York, 319 F. Supp. 698 (S.D.N.Y. 2018}.

Plaintiff cites Tracy v. Freshwater, 623 F.3d 90 (2d Cir. 2010), Jones v. Truebig, 963 F.3d
214 (2d Cir. 2020) and Soto v. Gaudett, 862 F.3d 148 (2d Cir. 2017) as support for his claim and

questions that defendants did not address these cases.

 

5 Enhanced Supervision Housing is for inmates who present a significant threat to the safety and security of the
facility if housed elsewhere. (Ex. “L” §1-16)
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The simple response is that these cases are not applicable. Plaintiff Ross herein was
actively resisting the probe team’s efforts to handcuff him. Tracy, supra, involved a police
encounter. Tracy was already handcuffed and complying when sprayed. Jones, supra, involved
a police encounter, where a suspect, while not handcuffed, was face down on the ground with
arms spread, was not trying to get up and there was no evidence to suggest that he was being
non-compliant when sprayed. And, Soto, supra, involved an individual who had been struck by
a police cruiser, then tased and thereafter tased again while although not handcuffed, had
stopped and no longer posed a risk of flight when tased for a second time. Moreover, it was not
suggested that Soto was being noncompliant when tased again. None of these cases are
applicable to the facts herein. Additionally, none of these cases occurred in a correctional setting
when courts have shown deference to the government’s discretion in providing for the safety

and security of their facilities. Beliv. Wolfish, 441 U.S. 520 (1979).

 

Case law addressing the issues presented herein tend to be fact specific. None of the
individuals in the cited Tracy, Jones or Soto cases were actively resisting efforts to handcuff them,
and none were in a correctional facility with a mandated court appearance.

The force employed to plaintiff Ross was minimal and constituted the lowest level of force
under the DOC use of force continuum (Ex. “C” at DEFOO66-0067).

Plaintiff did not tell staff that he was sedated and could not move, as clearly evidenced
by the audio recording. Moreover, it is equally clear that plaintiff actively resisted staff’s efforts
to handcuff him. The force used in response to plaintiff's active resistance and threat level was

minimal, proportional in nature and not excessive.
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Alternatively, even if the force employed, a one second burst of pepper spray, is
determined to be excessive, defendant Willis is shielded by the doctrine of qualified immunity.

Plaintiff argues herein that DOC staff receive training concerning Directives, Operation
Orders and Rules and Regulations. Those Directives and Operation Orders authorize force,
including the use of chemical agents (pepper spray) to enforce DOC rules and regulations and
court orders (Ex. “B” at Section V.A. 2, DEFO815). See also (Ex. “A” at Section Ill, Aand B, DEFO0824)
and (Ex. C at Section IV. 4., DEFOQ063).

Additionally, the Court held in Ismael v. Charles, No. 18 CV 3957 (GHW) 2020 U.S. DIST.
LEXIS 12492 at *28-*30 (S.D.N.Y. July 15, 2020} “it is not clearly established that pepper spraying
an uncooperative inmate is unlawful.” If this premise was not clearly established in July, 2020, it
certainly was not clearly established on June 14, 2016.

As previously noted, in the instant action, plaintiff Ross was not only uncooperative but
was also physically resisting the probe team’s efforts to handcuff him in order to produce him for
his scheduled court appearance.

“Clearly established means that at the time of the officer’s conduct, the law was
sufficiently clear that every reasonable official would understand that what he was doing was
unlawful.” Dist. of Columbia v, Wesby, 138 S.Ct. 577, 589 (2018). Existing law must have placed
the constitutionality of the officer’s conduct beyond debate, Id.

The Supreme Court has “repeatedly stressed that courts must not define clearly
established law at a high level of generality, since doing so avoids the crucial question whether

the official acted reasonably in the particular circumstances he or she faced.” Id. at 590.
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The Court, in Ismael, supra, held that it is not clearly established that spraying an
uncooperative inmate is unlawful. Moreover, when viewed with the additional backdrop that
DOC authorized the use of chemical agents (pepper spray) to enforce rules and regulations of the
agency and court orders, under the totality of the circumstances herein it cannot be said that an
officer in Willis’ position would find his conduct objectively unreasonable. Accordingly,
defendant Willis is entitled to summary judgment under the doctrine of qualified immunity.

* * : *

The complaint does not establish a sufficient basis for a deliberate indifference to medical
needs claim. While the Fifth Amended Complaint may have been filed when plaintiff was
proceeding pro se, he has been represented by able pro bono counsel in the form of a large law
firm with no less than three (3) attorneys, including a partner handling his case since February
11, 2020. No application to amend the complaint has been made in the near one year since
counsel’s appearance herein. Thus, while plaintiff's counsel’s agreement to appear pro bono and
provide their services without compensation is commendable, plaintiff should not be afforded
the deference given to pro se litigants. Defendant Willis submits that the complaint simply does
not present a deliberate indifference to medical needs claim.

Even if the Court, in its review of the 5th Amended Complaint, does so with deference to
plaintiff’s pro se status at the time the complaint was filed, a claim for deliberate indifference to
medical needs is not plead or even stated.

The complaint does not allege that Captain Willis was aware of plaintiff's asthma
diagnosis, nor does it allege any requisite mental state with respect to Willis’ action. There exist

no allegations that Willis acted with reckless disregard concerning plaintiff's medical needs, that
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he delayed treatment or that his actions were in any way punitive in nature. Moreover, the
attachment of excerpts from Investigator Longi’s report can neither cure nor adequately
supplement the pleading’s deficiencies in this matter.

Plaintiff was sprayed because he actively resisted defendants’ efforts to handcuff him and
produce him to his scheduled court appearance.

Defendant Willis was a probe team supervisor dispatched pursuant to an alarm. Willis
was not aware of plaintiff's asthma diagnosis and was not informed of such until plaintiff did so
atter he was sprayed. At no time prior to being sprayed did plaintiff inform Willis or any probe
team member of his asthma diagnosis, despite prior warning by Captain Willis that spray would
be deployed. Rather, plaintiff responded, “Spray me for what?” indicating an understanding of
the spray advisement.

Captain Willis indicated in his testimony that because the Tour Commander had ordered
his response to a known anticipated use of force scenario, i.e. court refusal, that he believed that
the Tour Commander had addressed DOC protocols including the checking for contraindicators
(Ex. “R” at 95-96}.

Captain Willis was not aware of plaintiff's asthma diagnosis and in fact testified that had
Ross informed defendants of the asthma diagnosis, that it would have “very possibly changed
the way he proceeded.” Willis testified that he would have called the tour commander to
“double check” if chemical agents could be utilized (Exhibit “R” at 154).

As already discussed, Captain Willis was aware of the nature of the alarm response before

his arrival at Ross’ cell because the tour commander told him that the alarm was in response to
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Ross having refused production for court. Captain Willis believed the necessary protocols were
followed (Exhibit “H” at 96).

Captain Willis’ actions were not objectively unreasonable nor were they reckless. Ross
was physically resisting staff. Willis was not aware of Ross’ asthma diagnosis. Ross never
informed of such until after he was sprayed. Moreover, Willis believed that the Tour Commander
had followed protocol when she ordered him to respond as a probe team leader to an anticipated
use of force scenario. Had Willis been provided with any information concerning Ross’ asthma
diagnosis, he would have “double checked’ with the tour commander (underline added).

Willis’ actions were not punitive in nature, but rather in response to Ross’ physical
resistance to being handcuffed. Willis testified that Ross actively resisted, a fact clearly
established by the audio and its transcript. He sprayed because he believed this was his best
option, and safer than just forcefully trying to handcuff him (Ex. “R” at 88, Plaintiff's Ex. “!” and
Ex. “O”).

Plaintiff Ross’ Fourth Amended Complaint alleged that defendant’s motivation for
spraying him was in an effort to produce him for court. It cannot be said that Willis’ actions
constituted a desire to punish, nor do they amount to a reckless disregard under the
circurnstances of this case.

Plaintiff did not sustain injury in this matter. The effects of the pepper spray were DOC’s
intended effects, i.e. temporarily incapacitate in order to lessen or eliminate entirely the need
for physical force. This makes the encounter safer for both staff and inmate.

Upon being sprayed, Ross was immediately handcuffed without need for further force

and escorted from the cell. Removal from the affected area is the first step in the

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decontamination process. When Ross dropped to his knees and would no longer walk, a gurney
was provided. Ross was escorted on the gurney to the intake area, where he was placed in a
shower where the effects of the chemical agents could be rinsed off. He was permitted to shower
until he stated he was relieved. (Ex. “S” at 76).

Ross was examined in the medical clinic by Physician’s Assistant Larry Blackmore, who
noted the following findings:

a) Patient had no distress;

b) No O/C noted on him;

c} No injury noted;

d) No treatment indicated.

(Exhibit “K” at 133-134, Exhibit “J” DEF 0121, and JSSF at No. 58-59},

Plaintiff seeks to suggest that whatever injury plaintiff sustained may have resolved
because he was not examined by P.A. Blackmore until 10:20 a.m. However, a review of Exhibit
“J”, the document used to log an inmate in to be seen at the clinic, indicates that it was completed
at 7:10 a.m., immediately after the incident.

P.A. Blackmore explained that once in the clinic, inmates may be triaged and examined in
order of medical necessity (Exhibit “K” 133-34). Moreover, plaintiff had stopped showering and
informed DOC staff that he was relieved. (Ex. “S” at 76).

Plaintiff seeks in their submission to equate the use of pepper spray to exposure to toxic
substances and carcinogens. Pepper spray is a substance approved for use by law enforcement,
and defendant is unaware of any study, and plaintiff points to no study, that equates pepper

spray with toxins or carcinogens.

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Defendant Willis submits that he is entitled to summary judgment on both the excessive
force claim as well as the deliberate indifference claim should the court decide it was sufficiently
pled by plaintiff.

it is clear from the record presented that Ross was physically resisting defendants’ efforts
to handcuff him in order to produce him for his court appearance. The force used was
reasonable, necessary and proportional.

Defendant Willis was not aware of Ross’ asthma diagnosis, and reasonably believed the
tour commander who ordered him to an anticipated use of force scenario would have checked
for contraindications before doing so. His actions were not reckless under the circumstances.

The defendants’ actions were not punitive, but rather taken to insure Ross’ presence in
court. This was acknowledged by Ross in his Fourth Amended Complaint.

Defendant submits that under the totality of the circumstances of this case, it cannot be
said that a clearly established constitutional right as to either claim has been violated.
Defendant’s conduct was neither reckless nor punitive in nature. Moreover, plaintiff did not
sustain significant injury, if any, herein. Should the Court determine that there is a disputed fact
as to whether a constitutional violation occurred, defendant Willis is nonetheless entitled to
summary judgment under the doctrine of qualified immunity as his actions were not objectively
reasonable, Anderson v. Creighton, 483 U.S. 635 (1987); Saucier v, Katz, 533 U.S. 194 (2001).
Defendant submits that these arguments were also presented throughout his initial
memorandum.

The Tour Commander had ordered Willis and his probe team members to respond to what

has been established to be an anticipated use of force under DOC palicy. DOC protocols provide

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that the Tour Commander should have directed a captain to assemble and extraction team rather
than activate an alarm and order Willis to lead a probe team to the area. The checking for
contraindicators is a procedure for an extraction team captain and/or tour commander, not a
captain responding as a probe team supervisor.

It was not objectively unreasonable for Willis to believe that his superior Assistant Deputy
Warden Dunbar had followed contraindicator protocols, since it was she who ordered him to the
alarm response and knew the nature of the response.

Moreover, once the probe team sought Ross’ compliance and Ross physically resisted
efforts to handcuff him, the dynamics of the response changed. It was no longer an anticipated
use of force scenario, but an actual use of force precipitated by Ross’ actions.

The doctrine of qualified immunity protects government officials and employees such as
Captain Willis where in the performance of their discretionary functions, his actions do not
violate clearly established statutory or constitutional rights of which a reasonabie person would
have known. Mullenix v. Luna, 136 $.Ct. 305, 308 (2015). “Clearly established means that the
time of the officer’s conduct, the law was sufficiently clear that every reasonable official would
understand that what he was doing was unlawful.” Dist. of Columbia v. Wesby, supra. Existing
law must have placed the constitutionality of the officer’s conduct beyond debate. Id.

As noted herein, the Supreme Court has “repeatedly stressed that courts must not define
clearly established law at a high level of generality, since to do so avoids the crucial question
whether the official acted reasonably in the particular circumstances he or she faced.” Id. at 590.

in light of the totality of the circumstances of this case where the Tour Commander, in

response to Ross’ court refusals, rather than direct the assembly of an extraction team, activated

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an alarm and ordered Willis to supervise a probe team to the area, it was not objectively
unreasonable for Willis to believe that the Tour Commander had addressed contraindicator
protocols.

Moreover, Ross was not only uncooperative, but actively resisted staff's efforts to
handcuff him. Accordingly, it is submitted that an officer placed in a situation under the facts
and circumstances herein would not determine the actions of Captain Willis to be objectively
unreasonable. Accordingly, even if it is determined that there exists a factual dispute that a
clearly established constitutional right was violated, Willis is protected by the doctrine of
qualified immunity and summary judgment should be granted.

Plaintiff argues that the Court should decline to consider Willis’ defense of qualified
immunity concerning the deliberate indifference issue. Defendant submits that said defense, i.e.
qualified immunity, is sufficiently addressed herein and is subsumed both in this reply and in the
opening memorandum concerning the excessive force claim and Willis’ actions herein.
Defendant submits that it is appropriate for consideration by the Court for these reasons and/or
in the Court’s discretion. Bayway Ref. v. Oxygenated Marketing & Trading, A.G., 215 F.3d 219,
226 (2d Cir. 2000}. Plaintiff addressed the qualified immunity issue in its opposition to both Willis
and defendants George and Genoves. Plaintiff can claim neither prejudice nor surprise herein.

Defendant Willis notes that such consideration by the Court would only become
necessary should the Court, upon its review of the sufficiency/existence of a deliberate
indifference claim, grant deference to plaintiff's pro se status, despite counsel’s presence since
February 11, 2020; determine that the claim has been sufficiently pled; and determine that a

clearly established constitutional right had been violated.

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Defendant Willis submits that no claim for deliberate indifference to medical needs has
been pled and attaching excerpts from an investigator’s report cannot cure this. Moreover,
viewed under the totality of the circumstances herein, it cannot be said that Captain Willis’
actions were objectively unreasonable.

Defendant Willis joins in the arguments of defendants George and Genoves to the extent
applicable to this motion.

Accordingly, defendant Willis respectfully submits that his motion for summary judgment
be granted.

Dated: Mineola, New York
January 30, 2021

Respectfully submitted,

FRANKIE & GENTILE, P.C.

ee

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